Case 1:22-cv-01582-SRF Document 83 Filed 11/17/23 Page 1 of 4 PageID #: 526




              IN THE UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF DELAWARE

DAVID C. TRAUB, RICHARD O.           )    Case No. 1:22-cv-01582-CFC
                                     )
CABAEL, WILLIAM R. SOTKA,            )
ERN ANDREW GREGORIO,                 )
GLORIA GISELDA N. ARROYO,            )
                                     )
WINELDA C. YCOY, SIMON U.            )
CABAEL, and CHRISTOPHER R.           )
ASIS,                                )
                                     )
                                     )
      Plaintiffs,                    )
v.                                   )
                                     )
STARDUST389, INC.,                   )
AIRLOCK389, INC.,                    )
                                     )
CHRISTOPHER H. COOPER and            )
PATRICIA ANN BELLASALMA,             )
                                     )
      Defendants,                    )
                                     )

     DECLARATION OF ALICE L. KESSLER IN SUPPORT OF GREENBERG
       TRAURIG’S MOTION TO WITHDRAW FROM REPRESENTATION
Case 1:22-cv-01582-SRF Document 83 Filed 11/17/23 Page 2 of 4 PageID #: 527




    I, Alice L. Kessler, declare as follows:

    1.     I am a Shareholder at Greenberg Traurig, LLP (GT) based in the firm’s Sacramento,

           California office and practicing in the firm’s Government Law & Policy group. In

           late 2021, I was introduced to Patricia Bellasalma and Christopher Cooper, officers

           of Stardust389, Inc. and Airlock389, Inc., through a longtime professional contact

           and investor in the companies, Shannon Smith-Crowley. Bellasalma and Cooper

           were seeking an attorney referral to represent them and the corporate entities in an

           employment lawsuit filed in the Northern District of California on December 16th,

           2021 (see Exhibit 1 – Complaint). I introduced them to attorneys in GT’s Northern

           California Labor & Employment practice group for possible representation.

    2.     I have personal knowledge of all facts stated in this declaration, and if called to

           testify, I could and would testify competently thereto.

    3.     On December 20, 2021, the Defendants did retain Greenberg Traurig to represent

           them in this matter.

    4.     On January 18, 2021, GT filed a Motion to Dismiss, in part relying on a Delaware

           choice-of-law provision in the agreement between Plaintiffs and Defendants at

           issue in this action (see Exhibit 2 – Defendants’ Motion to Dismiss).

    5.     All parties did, in fact, consent to the jurisdiction of this court on October 16, 2023

           (see Exhibit 3 – Consent to Magistrate Judge).

    6.     In May of 2023, I was contacted by Christopher Cooper, the Chief Executive

           Officer of Stardust389, Inc. and Airlock 389, Inc. He stated his relationship with

           Bellasalma, COO and General Counsel, had broken down and his intention to
Case 1:22-cv-01582-SRF Document 83 Filed 11/17/23 Page 3 of 4 PageID #: 528




          separate her employment from the companies. He asked for guidance on how to

          proceed with respect to this litigation.

    7.    At that time, Stardust had outstanding unpaid fees owed to GT of nearly $100,000,

          with significant work ahead in the case. Cooper agreed to make installments toward

          the amount owed and did, in fact, make installment payments totaling $11,000 in

          May and July of 2023.

    8.    Then, on June 29, 2023 Cooper contacted me to share a notice of removal as CEO

          from other Directors of the companies and a demand to cease and desist any

          activities on behalf of the companies. Cooper stated he would no longer be able to

          make any payments on fees for work performed by GT (see Exhibit 4 – Notice of

          Removal).

    9.    I sent a memorandum to all Defendants on August 11, 2023 (see Exhibit 5 –

          Request for Teleconference) requesting a teleconference with GT counsel to

          determine whether we could keep the parties’ interests aligned in order to continue

          defending against the suit.

    10.   While Bellasalma agreed to this meeting, Cooper stated he would not participate

          due to concerns that legal action might be taken against him pursuant to the Notice

          of Removal.

    11.   On October 16, 2023, we informed the Defendants and Plaintiffs’ counsel of our

          intention to move to withdraw from the case due to the controversy between the

          Defendants with respect to control of the corporate entities and its debts.

    12.   At this time, Plaintiff’s counsel asked for fulsome contact information for all

          parties, which was provided. Further, counsel asked for Defendants’ physical
    Case 1:22-cv-01582-SRF Document 83 Filed 11/17/23 Page 4 of 4 PageID #: 529




               foreign addresses where they could receive correspondence, which were also

               provided (see Exhibits 6-8 – Emails to Plaintiff’s Counsel).

        13.    At all times, both Cooper and Bellasalma have been responsive to email and phone

               communication with GT.

        14.    All parties were served with GT’s Motion to Withdraw on October 17, 2023 by

               email and certified mail to last known addresses.

        I declare under penalty of perjury under the laws of the United States that the foregoing is

true and correct and that this declaration was executed on November 7, 2023.

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                               Signature:

                               Printed name: Alice L. Kessler

                               Address: 400 Capitol Mall, Suite 2400, Sacramento, CA 95814

                               Phone Number: (916) 868-0605
